            Case 1:23-cv-03031-SAB                  ECF No. 17           filed 08/21/23    PageID.926 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                            FILED IN THE
                                                                                                             U.S. DISTRICT COURT
                                                                  for the_                             EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
                          KANDIE L.,
                                                                                                       Aug 21, 2023
                                                                                                              SEAN F. MCAVOY, CLERK

                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 1:23-CV-03031-SAB
                                                                     )
       COMMISSIONER OF SOCIAL SECURITY,                              )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Parties’ Stipulated Motion for Remand (ECF No. 15) is GRANTED.
’
              Decision of the Commissioner is reversed and remanded.
              Judgment is entered in favor of Plaintiff.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             Stanley A. Bastian                                               .




Date: 08/21/2023                                                             CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                             Allison Yates
